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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

    UNITED STATES OF AMERICA                         §
                                                     §
    v.                                               §          No. 4:20CR382
                                                     §          Judge Jordan
    SAAD AZIZ (104)                                  §

                               ELEMENTS OF THE OFFENSE

          You are charged in Count Six of the Fourth Superseding Indictment with a

   violation of 18 U.S.C. §§ 1349 and 1343, Conspiracy to Commit Wire Fraud. The

   essential elements which must be proved beyond a reasonable doubt in order to establish

   a violation of these sections are:

   18 U.S.C. § 1349:


          1. That two or more persons agreed to commit wire fraud;
          2. That the defendant knew the unlawful purpose of the agreement; and
          3. That the defendant joined the agreement with the intent to further the unlawful
             purpose.

   18 U.S.C. § 1343:

          1. That the defendant knowingly devised or intended to devise any scheme to
             defraud, that is, such as the scheme set out in the superseding indictment in this
             case;
          2. That the scheme to defraud employed false material representations, false
             material pretenses, or false material promises;
          3. That the defendant transmitted or caused to be transmitted by way of wire
             communications, in interstate or foreign commerce, any writing, sign, signal,
             picture, or sound for the purpose of executing such scheme; and
          4. That the defendant acted with a specific intent to defraud.




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                                                     Respectfully submitted,

                                                     BRIT FEATHERSTON
                                                     United States Attorney

                                                     ___/s/__________________________
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                                CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was filed via electronic filing to
   defense counsel on February 23, 2023.

                                                     ___/s/__________________________
                                                     ERNEST GONZALEZ




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